Case 19-02547-dd       Doc 18     Filed 06/26/19 Entered 06/26/19 19:02:17           Desc Main
                                  Document      Page 1 of 25


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                            )      CASE NO. 19-02547-dd
  IN RE:                                    )      CHAPTER 7
  MICHAEL JUDE PEREZ                        )
  KELLY ANNE PEREZ                          )      NOTICE OF MOTION FOR RELIEF
                 DEBTOR(s)                  )      FROM AUTOMATIC STAY
                                            )      (11 U.S.C. § 362)


  TO: DEBTOR(S), TRUSTEE (if applicable) AND THOSE NAMED IN THE ATTACHED
  MOTION:

         PLEASE TAKE NOTICE THAT a hearing will be held on the attached Motion on:

           Date: July 23, 2019
           Time: 9:00 AM
           Place: 145 King Street, Room 225, Charleston, SC 29401

         Within 14 days after service of the attached Motion, the Notice of Motion, the
  Movant’s Certification of Facts (and a blank Certification of Facts for applicable to service on
  pro se parties only), any party objecting to the relief sought shall:
         1)      File with the Clerk a written objection to the 11 U.S.C. § 362 Motion;
         2)      File with the Clerk a Certification of Facts;
         3)      Serve on the Movant items 1 & 2 above at the address shown below; and
         4)      File a certificate of such with the Clerk.
         If you fail to comply with this procedure, you may be denied the opportunity to
  appear and be heard on this proceeding before the court.

  DATE OF SERVICE:                  June 26, 2019
  MOVANT:                           Wells Fargo Bank, N.A.
  ATTORNEY:                         /s/ Travis Menk
                                    Travis Menk, # 10686
                                    Brock and Scott, PLLC
  ATTORNEY’S ADDRESS:               8757 Red Oak Blvd., Suite 150
                                    Charlotte, NC 28217
                                    Phone: Ph: 704-369-0676
                                    scbkr@brockandscott.com
Case 19-02547-dd        Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17           Desc Main
                                  Document      Page 2 of 25


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                           )     CASE NO. 19-02547-dd
  IN RE:                                   )     CHAPTER 7
  MICHAEL JUDE PEREZ                       )
  KELLY ANNE PEREZ                         )     MOTION FOR RELIEF
                 DEBTOR(s)                 )     FROM AUTOMATIC STAY
                                           )     (11 U.S.C. § 362)



                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Wells Fargo Bank, N.A. (hereinafter “Movant”), a secured creditor in
  the above-captioned case, by and through counsel, Brock & Scott, PLLC, and moves this Court
  to enter an order granting its request for relief from the automatic stay imposed by 11 U.S.C. §
  362(a) on the following grounds:
         1.      That Wells Fargo Bank, N.A. is a secured creditor of the Debtor(s) and thus a
                 party in interest.
         2.      That the above-captioned Debtor(s) filed a petition seeking relief pursuant to
                 Chapter 7 of the United States Bankruptcy Code in this District on or about May
                 9, 2019.
         3.      The Debtor holds title to the real property (hereinafter “Collateral”) described in
                 that Mortgage recorded in the Pasco County Register of Deeds in Book 8113 at
                 Page 135 and recorded on June 24, 2009 (hereinafter “Mortgage”) with an
                 address of 21428 Morning Mist Way, Land O Lakes, Flordia 34637. A copy of
                 the Mortgage and Note are attached hereto and incorporated herein as Exhibit
                 “A”.
         4.      Movant holds a Promissory Note secured by the Mortgage from the Debtor in
                 the original principal amount of $143,355.00 and dated June 15, 2009
                 (hereinafter “Note”).
         5.      The Debtor has scheduled the value of the Collateral at $165,000.00.
         6.      Upon information and belief, the approximate payoff due and owing to Movant
                 as of June 12, 2019 is $201,466.80.
Case 19-02547-dd   Doc 18     Filed 06/26/19 Entered 06/26/19 19:02:17             Desc Main
                              Document      Page 3 of 25


        7.    Upon information and belief, per the Debtor’s Schedules, Wilderness Lake
              Preserve HOA has a second lien mortgage on the property in the amount of
              $5,501.77.
        8.    As a result of the averments in paragraphs 5 through 7, no equity exists in the
              subject property.
        9.    Upon information and belief, the Debtor is surrendering his interest in the
              Collateral.
        10.   As a result, Movant lacks adequate protection of its interest in the Collateral.
              By virtue of such lack of protection, good cause exists to lift the automatic stay
              imposed hereunder. Otherwise, Movant will suffer irreparable harm with
              respect to Movant’s interest in the Collateral.
        11.   Movant agrees to waive any claim that may arise under 11 U.S.C. Section
              503(b) or Section 507(b) as a result of this Order. Movant further agrees that
              any funds realized from the foreclosure sale, in excess of all liens, costs, and
              expenses, will be paid to the Trustee.


              WHEREFORE, Movant respectfully requests the entry of an Order:
              1.     That modifies the automatic stay provisions of 11 U.S.C. § 362 and that
                     allows Wells Fargo Bank, N.A. to immediately proceed to foreclose its
                     security interest in the property described in Exhibit “A” annexed to this
                     Motion and otherwise pursue any remedies available under state law to
                     recover and liquidate its collateral;
              2.     That waives the effect of Bankruptcy Rule 4001 (a)(3); and
Case 19-02547-dd    Doc 18      Filed 06/26/19 Entered 06/26/19 19:02:17          Desc Main
                                Document      Page 4 of 25


               3.     Provides for such other and further relief as the Court deems just and
                      proper.

        This, the 26th day of June 2019.

                                              /s/ Travis Menk
                                              Travis Menk, # 10686
                                              Brock and Scott, PLLC
                                              8757 Red Oak Blvd., Suite 150
                                              Charlotte, NC 28217
                                              Phone: Ph: 704-369-0676
                                              scbkr@brockandscott.com
Case 19-02547-dd    Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17           Desc Main
                              Document      Page 5 of 25


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

                                        )
                                               CASE NO. 19-02547-dd
  IN RE:                                )
                                               CHAPTER 7
  MICHAEL JUDE PEREZ                    )
  KELLY ANNE PEREZ                      )
                                               CERTIFICATION OF FACTS
                 DEBTOR(s)              )
                                        )


        In the above-entitled case, in which relief is sought by Wells Fargo Bank, N.A. from
        automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best of my
        knowledge the following:

        1.     Nature of Movant’s Interest: Movant holds the first mortgage on property
               located at 21428 Morning Mist Way, Land O Lakes, FL 34637.

        2.    Brief Description of Security Agreement (copy attached): Mortgage

        3.     Description of Property Encumbered by Stay (Include serial number, lot and
               block number, etc.:




        4.     Basis for Relief: Lack of adequate protection. §362(d)(1) and (2). Property
               being surrendered.

        5.     Prior Adjudication by Other Courts, copy attached (Decree of foreclosure,
               Order for possession, Levy of execution, etc., if applicable: N/A

        6.     Valuation of Property, copy of Valuation attached:
                Fair Market Value             $165,000.00
                Senior Liens:                 $0.00
                Movant’s Lien:                $201,466.80
                Other Liens:                  $5,501.77
                Wilderness Lake Preserve
                HOA
                Net Equity                    $0.00
                Source/Basis of Value         Schedule

        7.     Amount of Debtor estimated equity (using figures from paragraph 6): $0.00

        8.     Month and Year in which first direct post-petition payment came due to Movant
               (if applicable): N/A
Case 19-02547-dd         Doc 18      Filed 06/26/19 Entered 06/26/19 19:02:17                    Desc Main
                                     Document      Page 6 of 25



          9.       (a) For Movant / Lienholder (if applicable): list or attach a list of all post-
                   petition payments received directly from debtor(s), clearly showing date
                   received, amount and month and year of which each such payment was
                   applied.1

                   (b) For Objecting party (if applicable): list or attach a list of all post-petition
                   payments included in the Movant’s list from (a) above which objecting party
                   disputes as having been made. Attach written proof of such payment(s) or a
                   statement as to why such proof is not available at the time of filing this
                   objection.

          10.      Month and year for which post-petition account of Debtor(s) is due as of the
                   date of this Motion: May 2014 (Contractually)


  Dated: June 26, 2019
                                                        /s/ Travis Menk
                                                        Travis Menk, # 10686
                                                        Brock and Scott, PLLC
                                                        8757 Red Oak Blvd., Suite 150
                                                        Charlotte, NC 28217
                                                        Phone: Ph: 704-369-0676
                                                        scbkr@brockandscott.com




  1
          This requirement may not be met by the attachment of a payment history generated by the Movant. Such
  attachment may be utilized as a supplement to a complete and detailed response to (9)(a) above, which should be
  shown on this certification.
Case 19-02547-dd      Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17            Desc Main
                                Document      Page 7 of 25


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                           )
  IN RE:                                   )
  MICHAEL JUDE PEREZ                       )     CASE NO. 19-02547-dd
  KELLY ANNE PEREZ                         )     CHAPTER 7
                 DEBTOR(s)                 )
                                           )


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies under penalty of perjury that he/she is over eighteen
  (18) years of age and that the MOTION FOR RELIEF FROM AUTOMATIC STAY, NOTICE
  OF MOTION, CERTIFICATION OF FACTS AND CERTIFICATE OF SERVICE in the
  above captioned case were this day served upon the below named persons by mailing, postage
  prepaid, first class mail a copy of such instrument to each person(s), parties, and/or counsel at
  the addresses shown below:

  Michael Jude Perez                                  Craig Joseph Poff
  1943 Cross Swamp Road                               704 Prince Street
  Lodge, SC 29082                                     Beaufort, SC 29902

  Kelly Anne Perez
  1943 Cross Swamp Road                               Kevin Campbell
  Lodge, SC 29082                                     P.O. Box 684
                                                      Mount Pleasant, SC 29465



  This, the 26th day of June 2019.
                                                 Brock and Scott, PLLC

                                                 /s/ Travis Menk
                                                 Travis Menk, # 10686
                                                 Brock and Scott, PLLC
                                                 8757 Red Oak Blvd., Suite 150
                                                 Charlotte, NC 28217
                                                 Phone: Ph: 704-369-0676
                                                 scbkr@brockandscott.com
)%:' · ·
   . Shepard & Leskar' . . :
                              � . ·· .
                  �etum To; � fl
           p�eaiieCase 19-02547-dd
                                     ,
                                         0
                                               e:
                                              Document
                                            Exhibit A       Page 8 of 25
                                                                              _____
                                                                                 _
                                       Doc 18 Filed 06/26/19 Entered 06/26/19 19:02:17             /                                                     Desc Main

        100 NW 70th Ave.   •             .
      Plantation, FL 33317
                            Fi�a  American RES   .,,,,;'
                            AT±N:  ationstar Mortgage Tracking
                            450 B. oun.dary Street
                            Chapin, C 29036                                                                       Rcpt: 1250180 Rec: 112.00
                                                                                                                  OS: 501.90/)fJ IT: 286.71
                                 I
                                                                                                                  06/24�09 �         Dpty Clerk
                           This[documenl was prepared by:
                            Shiinna McDaniel                                                                  PAULAS. O'NEIL, PASCO CLERK & C0MPTROLLER
                                                                                                               06/24/09 0�: ��
                                                                                                                               811 �
                                                                                                                                                   1
                            NA�IONSTAR MORTGAGE LLC
                            350 HIGHLAND DR, lST PL                                                               OR BK                                PG   of:llJ.S
                                                                                                                                                                 �
                            FI!l'AL DOCS
                            LEl'l':ISVILLE, TX 75067




                                                                                          MORTGAGE
                                 i                                                                 MIN
                                 Inns MORTGAGE ("Security Instrument") is given on                       JUNE 15, 2009
                           The Mortgagor is
                                                    Michael J Perez,                      a married man joined by his wife ./
                                                   Kelly A. Perez


                                                                                                                                  , whose address is
                            214!28 Morning Mist Way, Land O Lakea, FLORIDA 34637

                           ("Botrower"). This Security: Instrument is given to Mortgage Electronic Registration Systems, Inc. ("lvlERS•). (solely as
                           nominee for Lender, as hereinafter defined, and Lender's successors and assigns), as mortgagee. MERS is organized and
                           existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026,
                           tel. (888) 679-MERS.
                                                                                                                                                                       /
                            NAiIONSTAR MORTGAGE LLC
                           ("Lender") is organized and existing under. the laws of       THE STATE OF DELAWARE                                  , and
                           has an address of 3 50 HIGHLAND DRIVE
                                               LEWISVILLE, TX 7 50.67-4177                               . Borrower owes Lender the principal sum of
                            ONE HUNDRED FORTY THREE THOUSAND THRBE HUNDRED FIFTY FIVE & 00/100
                                                                                                      Dollars (U.S.$             143, 355. oo ).
                           This debt is evidenced by Borrower's note dated the same date as this· Security Instrument ("Note"), which provides for
                           monthly payments, with the full debt, if not paid earlier, due and payable on       JULY 1, 2 o 3 9                       .
                           This Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Noto, with interest, and all
                           renewals, extensions and modifications of the Note: (b) the payment of all other sums, with interest, advanced under
                           paragraph 7 to protect the security of this Security Instrument; and (c) the performance of Borrower's covenants and
                           agreelnents under this Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and
                           convey to MERS ·csolely as nominee for Lender and Lender's successors and assigns) and LO the successors and assigns
                                     i
                                FHA Florida Mortgogo "'Ith MERS • 4196
                           �-:4N(FL) 10�05).01           Amen�ed 2/01
                                                                             tf\t:::.O �
                                                                                       /fl[)
                                .




                                                                                      1
                           Paga 1 of 9                          lnlllal1:

                                     :   VMP Mortgage Solu11on,, Inc.       ---0-




                                                                                                  'MEMO-LEGIBILITY OF WRITING,
                                                                                                  TYPING OR PRINTING UNSATIS-
                                                                                                  FACTORY IN THIS DOCUMENT.'
Case 19-02547-dd                                                 Doc 18                      Filed 06/26/19 Entered 06/26/19 19:02:17                                                                                           Desc Main
                                                                                             Document      Page 9 of 25




                                                                                                                                                                              OR BK                  8113         PG         136
                                                                                                                                                                                                       2       of 13


                             '
                         of �RS, the following described property located in
                                                                                                                                                            PASCO                                            County, Florida:
                         Ali that tract or parcel of land as shown on Schedule "A" attached hereto
                         which is incorporated herein and rnade a part hereof.




                                 i
                         Parcel ID Number:
                         which has the address of                                     :U42B           Mon,ing Mist                    .Way                                                                             [StrcctJ·
                                              Land o Lakes                                                                      [City),    Florida           34637                    [Zip Code)       ("Property Address");
                                )TOGETHER WITII all the improvements now or hereafter erected on the property, and alt easements,
                         appurtenances and fixtures now or hereafter a part of the property. All replacements and additions shall also be covered
                         by lliis Security Instrument, All of the foregoing is referred to in this Security Instrument as the "Property." Borrower
                         understands and agrees that MERS holds- only legal title to the interests granted by Borrower in this Security Instrument;
                         but, if necessary to comply with law or custom, M!lRS, (as nominee for Lender and Lender's successors and assigns),
                         has the right: to exercise any or ell of those interests, including, but not limited to, the right to foreclose and sell the
                         Property; and to talce any action required of Lender including, but not limited to, releasing or canceling this Security
                         Instrument.
                              . fBORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and has the right to
                         mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
                         Borrower warrants and will defend generally the title to the Property against ell claims and demands, subject to any
                         encumbrances of record.
                                 !TIIlS SECURJTY INS1RUMENT combines uniform covenants for national use and non-uniform covenants with
                         lirnit�d variations by jurisdiction to constitute a uniform security instrument covering real property;
                                 :Borrower and Lender covenant and agree as follows:                                ·
                                 iUNIFORM COVENANTS..                                 .
                                     Jt.
                                      Payment of Principal, Interest and Late Charge. Borrower shell pay when due the principal of, and interest
                         on, Uie debt evidenced by the Note and late charges due under the Note.
                                  !2. Monthly Payment of Taxes, Insurance aod Other Charges. Borrower shall include in each monthly payment,
                         together with the principal and interest as set forth in the Note and any late charges, a sum for (a) taxes and special
                         assessments levied or to be levied against the Property, (b) leasehold payments or ground rents on the Property, and (c)
                         premiums for insurance required under paragraph 4. In any year in which the Lender must pay a mortgage insurance
                         premium to the Secretary of Housing and Urban Development ("Secretary"),. or in any year in which such premium
                         would have been required if Lender still held the Security Instrument, each monthly payment shall also include either: (i)
                         a sum for the annual mort11age insurance premium to be paid by Lender to the Secretary, or (ii) a monthly charge instead
                         of a mortgage insurance premium if this Security Instrument is held by the Secretary, in a reasonable amount to be
                         determined by the Secretary. Except for the monthly charge by the Secretary, these items are called "Escrow Items" and
                         the sums paid to Lender are called 'Escrow Funds."
                                                                                                                                                                                                     tnlltat,:-r#
                           i
                         GJ4N{FL)
                            (i).
                                                       (0�05).01                                                                Paoe 2     cl g
                                                                                                                                                                                                                     K�


   _, .. _,. __ ,�   ,                     , •• �., .. ,O.,,.,   _...,_, __ ,_W,o,•••••N-•N'-•'""'•                               '    .
                                                                                                      • • ••-••••-•'"''••�••'"••-ON OO,•t- .. ,   ,.,Ooo, •• •••,-••••-•-•••••••••••••••••••-•••-•     N··-·-··--•••�•·-·---·4--·-·-   _
Case 19-02547-dd            Doc 18            Filed 06/26/19 Entered 06/26/19 19:02:17                                                   Desc Main
                                             Document      Page 10 of 25


                                                                                                         -
                                                                                                     OR BK       8113            PG       13 7
                                                                                                                     3        of 13


              ! Lender may, at any time, collect - and hold amounts for Escrow Items in an aggregate amount not to exceed the
         maximum amount that may be required 'for Borrower's escrow account under the Real Estate Selllement Procedures Act
         of 1974, 12 U.S.C. Section 2601 et seq. and implementing regulations, 24 CFR Part 3500, as they may be amended
         fronj time to time ("RESP A"), except that the cushion or reserve permitted by RESP A for unanticipated disbursements
         or disbursements before the Borrower's payments are available in the account may not be based on amounts.due for the
         mortgage insurance premium.
               ; If the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by RESPA, Lender shall
         account to Borrower for the excess-funds as required by RESP A. If the amounis of funds held by Lender at any time are
         not sufficient to pay the Escrow Items when due, Lender may notify the Borrower and require Borrower to make up the
         shof13ge as permitted by RESPA.
               I The Escrow Funds are pledged as additional security for all sums secured by this Security Instrument. If Borrower
         tenders to Lender the full payment of all such sums, Borrower's account shall be credited with the balance remaining for
         all i�stallment items (a), (b), and (c) and any mortgage insurance premium installment that Lender has not become
         obligated lo pay to the Secretary, end Lender shall promptly refund any excess funds to Borrower. Immediately prior to
         a roteclosure sale of the Property or its acquisition by Lender, Borrower's account shall be credited with any balance
         remeining for nil installments for items (a), (b), and (c),                  '
                ;3. Application of Payments. All payments under paragraphs I and 2 shall be applied by Lender as follows:
                jm!, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly charge by the
         Secr�tary instead of the monthly mortgage insurance premium;
                i�. to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and other hazard
         insurance premiums, as required;
                llllial., to interest due under the Note;
                ]Emlr.lh, to amortization of the principal of the Note; and
                 IEill.b.. to late charges due under the Note.
                 [4. Fire, Flood and Other Hazard Insurance. Borrower shnll insure all improvements on the Property, whether
         now 1in existence or subsequently erected, against any hazards, casualties, and contingencies, including fire, for which
         Lender requires Insurance. This insurance shall be maintained in the amounts and for the periods that Lender requires.
         Borrower shall also insure all Improvements on the Property, whether now in existence or subsequently erected, against
         loss �y floods to the extent required by the Secretary. All insurance shall be carried with companies approved by Lender.
         The insurance policies and any renewals shall be held by Lender and shall include loss payable clauses in favor of, and
         in a form acceptable to, Lender.
                  �n the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof of loss if not
         mad� promptly by Borrower. Each insurance company concerned is hereby authorized and directed to make payment for
         such loss directly to Lender, instead of to Borrower and to Lender jointly. All or any pan of the insurance proceeds may
         be arlp!ied by Lender, at its option, either (a) to the reduction of the indebtedness under the Note and this Security
         Instrument, first to any delinquent amounts applied. in the order in paragraph 3, end then to prepayment of principal, or
         (b) tq the restoration or repair of the damaged Property. Any application of the-proceeds to the principal shall not extend
         or postpone the due date of the monthly payments which are referred to in paragraph 2, or change the amount of such
         payments, Any excess insurance proceeds.over an amount required to pay all outstanding indebtedness under the Note
         and tliis Security Instrument shall be paid to the entity legally entitled thereto.
            · In the event of foreclosure of this Security Instrument or other transfer of title 10 the Property ihat extinguishes the



                                                                                                           1.1, .�,K�
         indeb)edness, all right, title and interest of Borrower in and to insurance policies in force shall pass 10 the purchaser.



            &·
              :
         --�N(FL) !0305).01                                        Page 3 019
Case 19-02547-dd Doc 18 Filed 06/26/19 Entered 06/26/19 19:02:17
           ·---------·-· -------···
                                                                                                                                          Desc Main
                        Document     Page 11 of 25




                                                                                                 OR BK       8113               PG        138
                                                                                                                 4        of 13


                ! 5. Occupancy, Preservation, Maintenance and Protection of the Property; Borrower's Loan Application;
           Leaseholds •. Borrower shall occupy. establish, and use the Property as Borrower's principal residence within sixty days
           after the execution of !his Secmity Instrument (or within sixty days of a later sale or transfer of the Property) and shall
           continue to occupy the Property as Borrower's principal residence for at least one year after the date of occupancy,
           unless Lender determines that requirement will cause undue hardship for Borrower, or unless extenuating circumstances
           exist which are beyond Borrower's control. Borrower shall notify Lender of any extenuating circumstances. Borrower
           shall not commit waste or destroy, damage or substantially change the Property or allow the Property to deteriorate,
           reasonable wear and tear excepted. Lender may inspect the Property if the Property ls-vacant or abandoned or the loan is
           in· defau IL Lender may take reasonable action to protect and preserve such vacant or abandoned Property. Borrower shall
           alsoJbc in default if Borrower, during the loan application process, gave materially fatso or inaccurate Information or
           statements to Lender (orfailed to provide Lender with any material information) in connection with the loan evidenced
           by the Note, including, but not limited to, representations concerning Borrower's occupancy of the Property as a
           prtncipal.residence, If this Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease.
           If Borrower acquires fee title to the Property, the leasehold. and fee tiUe shall not be merged unless Lender agrees to the
           merger in writing.
                 : 6. Condemnation. The proceeds, of any award or claim for damages, direct or consequential. in connection with
           any condemnation or other talcing of any part of the Property, or for conveyance in place of condemnation, are hereby
           assigned and shall be paid to Lender to the extent of the full amount of the indebtedness that remains unpaid under the
           Note arid this Security Instrument Lender shall apply such proceeds to the reduction of the indebtedness under the Note
           and \his Security Instrument, first to any delinquent amounts applied in the order provided in paragraph 3. and then to
           prepayment of principal. Any application of the proceeds to the principal shall not extend or postpone the due date of the
           monihly payments, which are referred to in paragraph 2, or change the amount of such payments. Any excess proceeds
           overian amount required to pay all outstanding indebtedness under the Note and this Security Instrument shall be paid to
           the �ntity legally entitled thereto.
                  '7. Charges to Borrower and Protection of Lender's Rights in the Property. Borrower shall pay all
           governmental or municipal charges, fines and impositions that are not inclnded in paragraph 2. Borrower shall pay these
           obligations on time directly to the entity which is owed the payment. If failure to pay would adversely affect Lender's
           interest in the Property, upon Lender's request Borrower shall prompUy furnish to Lender receipts evidencing these
           payments.                                                                 :
                  ; If Borrower fails to make these payments or the payments required by paragraph 2, or fails to perform any other
           covenants and agreements contained in !his Security Instrument, or there is a legal proceeding that may significantly
           affe<it Lender's· rights in the Property (such as a proceeding in bankruptcy, for condemnation or. to enforce laws or
           regulations), then Lender may do and pay whatever is necessary to protect the value of the Property and Lender's rights
           in the Property, including payment of taxes, hazard insurance and other items mentioned in paragraph 2.
                   , Any amounts disbursed by Lender under this paragraph shall become an additional debt of Borrower and be
           secured by this Security Instrument. These amounts shall bear interest from the date of disbursement, at the Note rate,
              at
           and the option of Lender, shall be immediately due and payable.                                                 ·
                   .Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a)
           agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender; (b) contests in
           good faith the lien by, or defends against enforcement of the lien in, legal proceedings which in the Lender's opinion
           operate to prevent !he enforcement of the lien; or (c) secures from the holder of the lien an agreement satisfactory to
           Lend.er subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is subject to
           a lien which may attain priority over this Security Instrument, Lender may give Borrower a notice identifying the lien.
         · Borrower shall sa�fy the lien or take one or more of the actions set forth above within 10 days of the giving of notice.



               j
          s:4N(FL)     (OODS).01                                    Pogo 4 of 9
             ®
Case 19-02547-dd                     Doc 18                   Filed ----···------
                                                                    06/26/19 Entered 06/26/19 19:02:17                                                                                 Desc Main
                                                             Document       Page 12 of 25



                                                                                                                                    OR Bl<           8113                 PG           139
                                                                                                                                                          5            of 13



                         8. Fees. Lender may collect fees and charges authorized by the Secretary.
                         9. Grounds for Acceleration or Debt.
                             (a) Default. Lender may, except as limited by regulations issued by the Secretary, in the case of payment
                             defaults, require immediate payment in full of all sums secured by this Security Instrument if:
                                  (i) Borrower defaults by failing to pay in full any monthly payment required by this Security Instrument
                                  prior to or on the due date of the next monthly payment, or
                                  (ii) Borrower defaults by failing, for a period of thirty days, to perform any other obligations contained in
                                  this Security Instrument,
                             (b) Sale Wllhout Credit Approve!. Lender shull, if permitted by applicable law (including Section 34l(d) of
                             the Garn-St Germain Depository Institutions Act of 1982, 12 U.S.C. l70lj-3(d)) and with the prior approval of
                             the Secretary, require immediate payment in full of all sums secured by this Security Instrument if:
                                  (i) Ali or part.of the Property, or a beneficial interest in a trust owning all or part of the Property, Is sold or
                                  otherwise transferred (other than by devise or descent), and
                                  (ii) The Property is not occupied by the purchaser or grantee as his or her principal residence, or the
                                  purchaser or grantee docs so occupy· lhe Property but his or her credit has not been approved in accordance
                                  with the requirements of the Secretary.
                             (c) 'No Waiver. If circumstances occur that would permit Lender to require immediate payment in full, but
                             Lender does not require such payments, Lender does not waive its righlS with respect to subsequent events.
                             (d) Regulations of HUD Secretary. In many circumstances regulations issued by the Secretary will limit
                             Lender's rights, in the case of payment defaults, to require immediate payment in full and foreclose if not paid.
                             This Security Instrument docs not authorize acceleration or foreclosure if not permitted by regulations of the·
                             Secretary.                       ·
                             (e) Mortgage Not Insured; Borrower agrees that if this Security Instrument and the Note are not determined to
                             be eligible for insurance under the National Housing Act within 60 days from the date hereof, Lender may, at'
                             its option, require immediate payment in full of all sums secured by this Security Instrument, A written
                             statement of any authorized agent of the Secretary dated subsequent to 60 days from the date hereof, declining
                             to insure this Security Instrument and the Note, shall be deemed conclusive proof of such ineligibility.
                             Notwithstanding the foregoing, this option may not be exercised by Lender when the unavailability of
                       ;     insurance is solely due to Lender's failure to remit a mortgage insurance premium to the Secretary.
                       ! 10. ReinstatemenL Borrower has a right to· be reinstated if Lender has required immediate payment in full because
                  of Bbrrower's failure to pay an amount due under the Note or this Security lnstrumenL This right applies even after
                  foreclosure proceedings are instituted. To reinstate the Security Instrument, Borrower shall tender in a lump sum all
                  amounts required to bring Borrower's account current including, to the extent they arc obligations of Borrower under
                  this :security Instrument, foreclosure costs and reasonable and customary attorneys' fees and expenses properly
                  ass0<;iated with the. foreclosure proceeding. Upon reinstatement by Borrower, this Security Instrument and the
                  obligations that it secures shall remain in effect as If Lender had not required immediate payment in full. However,
                  Lender is· not required lo permit reinstatement if: (i) Lender has accepted reinstatement after lhe commencement of
                  foreclosure proceedings within two years immediately preceding the commencement of a current foreclosure
                  proceeding, (ii) reinstatement will preclude foreclosure on different grounds in the future, or (Iii) reinstatement will
                  adversely affect the priority of the lien created_ by this Security Instrument.


                                                                                                                                                      lnltlals:��


                  �LIN(FL)      (0306).01                                                     Pago sci 9




   --·---··- .. -.-    '
                       -,      - - . � .. -- .. ·-··-·········-.---·-·········•·«··-······· ····--···-- ··-·---···--·-·-.. -� .. ------·--·-- .. ···------·---·- -- - .. ---   __ ,,         ..,_, .
Case 19-02547-dd                 Doc 18            Filed 06/26/19 Entered 06/26/19 19:02:17                                                       Desc Main



                                                                                                                     -
                                                  Document      Page 13 of 25




                                                                                                    OR BK          8113                    PG     140
                                                                                                                         6              of 13


                   . j 11, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time of payment or
                modification of amortization of the sums secured by this Security Instrument granted by Lender to any successor in
                interesr of Borrower shall not operate to release the liability of the original Borrower or Borrower's successor in interest.
                Lender shall not be required to commence proceedings against any successor in interest or refuse to extend time for
                payment or otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand
                made by the original Borrower or Borrower's successors in interest. Any forbearance by Lender in exercising any right
                or r�medy shall not be a waiver of or preclude the exercise of any right or remedy.
                      : 12. Successors and Assigns Bound; Joint and Several Liability; Co-Signers. TI1e covenants and agreements of
                this �ecurity Instrument shall bind and benefit the successors and assigns of Lender and Borrower, subject to· the
                provlsions of paragraph 9(b). Borrower's covenants end agreements shall be joint and several. Any Borrower who
                co-signs this Security Instrument but does not execute the Note: (a) is co-signing this Security Instrument only to
                mortgage, grant and convey that Borrower's interest in the Property under the terms of this Security Instrument; (b) is
                not personally obligated to pay the sums secured by this Security Instrument; end (c) agrees that Lender and any other
                Borrower may agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
                Instrument or the Note without that Borrower's consent.                                                                 ·
                       I 13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or by
                mnil!llg it by first class mail unless applicable law requires use of another method. The notice shall be directed to the
                Prop� Address or any other address Borrower designates by notice to Lender. Any notice ID Lender shall be given by
                first class mail to Lender's address stated herein or any address Lender designates by notice to Borrower. Any notice
                provided for in this Security Instrument shall be deemed to have been given ID Borrower or Lender when given as
                provided in this paragraph.
                        : 14. Governing Law; Severnblllty. This Security Instrument shall be governed by Federal law and the law of the
                jurisdiction lnwhich the Property is located. In the event that nny provision or clause of this Security Instrument or the
                Note; conflicts with applicable law, such conflict shall not affect other provisions of this Security Instrument or the Note
                which can be given effect without the conflicting provision. To this end the provisions of this Security Instrument and
                the Note are declared to be severable.
                        )s. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security Instrument
                         l16. Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release of
                any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else ID do, anything affecting
                the Property that is in violation of any Environmental Law. The preceding two sentences shall not apply to the presence,
                use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized to be
                appropriate to normal residential uses and to maintenance of the Property.                 ·
                         ;Borrower.shall promptly. give Lender written notice of any investigation, claim, demand, lawsuit or other action by
                any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
                Envil'onmental Law of which Borrower has actual knowledge. If Borrower learns, or is notified by any governmental or
                regulatory authority, that any removal or other remediation of any Hazardous Substances affecting the Property is
              · necessary, Borrower shall promptly take nil necessary remedial actions in accordance with Environmental Law.
                          As used in this paragraph 16, "Hazardous Substances" are those substances defined as toxic or hazardous
                substances by Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic petroleum
                products; toxic pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and
                radioactive materials. As used in this paragraph 16, 'Environmental Law" means federal laws and laws of the
                jurisdiction where theProperty is located that relate to health, safety·or environmental protection.



                                                                         Page8of9
                                                                                                                      lnl lal,:�Ki


   ·-------·-·---·= ._., - _ -----·--                       ,            _. ,           _     ,_·     ·-·---··-··"·-·-···--·-··-·-·-·     - --.         , ..
Case 19-02547-dd            Doc 18           Filed 06/26/19 Entered 06/26/19 19:02:17                                                 Desc Main



                                                                                                           -
                                            Document      Page 14 of 25



                                                                                          OR BK       8113             PG       141
                                                                                                          7         of 13


             i
          NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
             : 17. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender nil the rentsand revenues of
          the! Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues and hereby directs each
          tenant of the Property to pay the rents to Lender or Lender's agents. However, prior to Lender's notice to Borrower of
          Borrower's breach of any covenant or agreement in the Security-Instrument, Borrower shall collect and receive all rents
          and revenues of the Property as trustee for the benefit of Lender and Borrower. This assignment of rents constitutes an
          absolute assignment and not an assignment for additional security only.
              . If Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by Borrower as.
          trustee for benefit of Lender only, to be applied to the sums secured by the Security Instrument; (b) Lender shall be
          entitled to collect and receive all of the rents of the Property; and (c) each tenant of the Property shall pay all rents due
          and unpaid to Lender or Lender's agent on Lender's written demand to the tenant,
              · Borrower has not executed any prior assignment of the rents and has notand will not perform any act that would
          prevent Lender from exercisingits rights under this paragraph 17.
                  Lender shall not be required to enter upon, take control of or maintain the Property before or after giving notice of
          breach to Borrower. However, Lender or a judicially appointed receiver may do so at any time there is a breach. Any
          application of rents shall not cure or waive any default or invalidate any other right or remedy of Lender. This
          assignmenl of rents of the Property shall terminate when the debt secured by the Security Instrument is paid in full.
               : 18. Foreclosure Procedure. If Lender requires Immediate payment in full under paragraph 9, Lender may
          forkctose this Security Instrument by judicial proceeding. Lender shall be entitled to collect all expenses incurred
          In pursuing the remedies In this paragraph 18, including, but not limited to; reasonable attorneys' fees and costs
          of t'itle evidence.
               ; If the Lender's Interest in this Security Instrument is held by the Secretary and the Secretary requires
          lml)lediate payment in full under Paragraph 9, the Secretary may invoke the nonjudicial power of sale provided
          in \he Single Family Mortgage Foreclosure Act of 1994 (" Act") (12 U.S.C. 3751 et seq.) by requesting a
          for�closure commissioner designated under the Act to commence foreclosure and lo sell the Property as provided
          in the Act. Nothing in the preceding sentence shall deprive the Secretary of any rights otherwise available to a
          Lender under this Paragraph 18 or applicable law.
                ; 19. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this Security
          Instrument without charge to Borrower. Borrower shall pay any recordation costs.
                  20. Attorneys' 'Fees. As used in this Security Instrument and the Note, "attorneys' fees" shall include any
          attorneys' fees awarded by an appellate court.
                · 21. Riders to this Security Instrument; If one or more riders are executed by Borrower and recorded together
          with this Security Instrument, the covenants of each such rider shall be incorporated into and shall amend and
          supplement the covenants and agreements of this Security Instrument as if the rider(s) were a part of this Security
          Instrument. [Check applicable box(es)].
             O Condominium Rider                                                                       CxJ Other [specify]
             ULl Planned Unit Development Rider
                                                .
                                                         8      Growing Equity Rider
                                                                Graduated Payment Rider                  LEGAL




                                                                                                              tntllnt,:-tefl
                 i                                                                                                             �
          �-4N(FL)       103051,01                                     Page 7 of 9




                     .      .           .                          .        .                 .
Case 19-02547-dd                            Doc 18                         Filed 06/26/19 Entered 06/26/19 19:02:17                                                                                                                              Desc Main



                                                                                                                                                                                                -
                                                                          Document      Page 15 of 25




                                                                                                                                                                              OR BK                   8113                            PG               142
                                                                                                                                                                                                             8                 of 13



                   I BY SIGNING BELOW, Borrower accepts and agrees to the terms contained in this Security Instrument and in any
               rider(s) executed by Borrower and recorded with it. .




                                                                                                                                                                                                                                     orrowcr




                                                                                                                                  _____________ (Seal)
               -"'-----------�<Seal)
                              -Berrewer                                                                                                                                                                                            -Borrower




               --'-------------{Seal)
                                                                                                       -Borrower
                                                                                                                                  ------------��eal)                                                                               -Borrower




               ----------------(Seal)                                                                                             ------------�(Seal)
                                                                                                       -Borrower                                                                                                                   -Borrower




                                                                                                                    Pao•     Bol    9




   ______ ,m
                       '
                 ....,. .. ,""""""' "-"�·· •-••� ... ,, .. -.,,-�_"_._,..,.,_,, ••••• ''''"''"''"' ,,,,,..,,_,,_._,_,,.,,   _..,,,,,,,,.,,, •. ,,., _,, __
                                                                                                                                                                       .
                                                                                                                                                                 •••·•- ""   •••·•-···---., .... -,.,,.,,,,,.,,.,. ,_.,,,.._.._,      ,.,,._..,. """    •    • •
                                                                                                                                                             '
Case 19-02547-dd             Doc 18          ...
                                                    Filed 06/26/19
                                                   -----···          Entered
                                                             -----------          06/26/19
                                                                           ·····--··            19:02:17
                                                                                     ·--·· ···---·-        Desc Main
                                                                                                      -----------------                ······-·
                                                   Document      Page 16 of 25




                                                                                                             OR BK          8113               PG              143
                                                                                                                                9           of 13


                 i
            STATE OF FLORIDA,                                     P�SCO                                                   County ss:
                 ; The foregoing instrument was acknowlec\ged before me this                                                                                by
                 '           Michael J Perez         arri Kelly A. R:!rez



                                        to me or who has produced




                                                                                               ��'� .TAMMYSCARPENfER
                                                                                                 �1' . MY COMMISSION# DD.530804
                                                                                               \;Oft\�"             EXPIRES: Mar. 21, 2010
                                                                                                (.01) 398-0t 53      Flolid:1 Nol!:,'( Semca.com




                     !
            --4N(FL) 10,oa).01                                                     Pago9of9




  ---·- -···--           ,     _,,,   __ - �. ,    -   ,   ·--·   .,   ,..�   ,.         -._   -----�··� .. -- -   � ��        -.   _,_�,         ,-   ·-·-···•"'""-·��   -   -   ......
Case 19-02547-dd       Doc 18      Filed 06/26/19 Entered 06/26/19 19:02:17                 Desc Main
                                  Document      Page 17 of 25


                                              EXHIBIT "A"                                    ---        ·----   --,
                                                                        OR BK   -s 1i3-PG       144
                                                                                  10    of 13


     Lot 20, Block E, WILDERNESS LAKE PRESERVE PHASE III, according to the plat thereof, as
     recorded in Plat Book 53, Pages 102 through 112, of the Public Records of Pasco County, Florida.
Case 19-02547-dd       Doc 18         Filed 06/26/19 Entered 06/26/19 19:02:17                              Desc Main
                                     Document      Page 18 of 25




                                                                                  OR BK    8113        PG   145
                                                                                               11   of 13




                        PLANNED UNIT DEVELOPMENT RIDER
                                                                            I   FHA Ca�P. No



                THIS PLANNED UNIT DEVELOPMENT RIDER Is made this                   15th       day of
                    JUNB, 2009          • and Is Incorporated into and shall be deemed 10 amend and
            supplement the Mortgage, Deed of Trust or Securl1y Deed ("Security Instrument') of the
            same date given by the undersigned ("Borrower") to secure Borrower's Note ("Note'') to
                      NATIONSTAR MORTGAGE LLC
            ("Lender") of the same date and covering.the Property described in the Security Instrument
            and located at:
                      21428 Morning Mist Way, Land O Lakes, FLORIDA 34637
                          .                                                         .
                                           [Property Address]
            The Property Address is a part of a planned unit development ('PUD") known as
                      WILDERNESS LARE PRESERVES
                                       [Name of Planned Unit Development]
                  PUD COVENANTS. In addition to the covenants and agreements made In the Security
             Instrument, Borrower and Lender further covenant and agree as follows:

                 A.   So long es the Owners Association (or equivalent entity holding title to
                      common areas and facilities), acting as trustee for the homeowners,
                      maintains, with a generally accepted Insurance carrier, a "master" or "blanket"
                      policy Insuring the Property located in 1he PUD, Including all improvements
                      now existing or hereafter erected on the mortgaged premises, and such policy
                      Is satisfactory to Lender and provides Insurance coverage in the amounts, for
                      the periods, and against 1he hazards Lender requires, including fire and other
                      hazards included within the term "extended coverage," and loss by Hood, to
                      the extent required by the Secretary, then: (i) Lender waives the provision in
                      Paragraph 2 of this Security lnstrument"for the monthly payment to Lender of



             /FHA PUD Rider
             !VMP@
           _ jwotters Kluwer Financial Services Cll 2008
Case 19-02547-dd-------
                  Doc 18 ---·
                          Filed-·-·------
                                  06/26/19 ----
                                            Entered 06/26/19 19:02:17                                                                                                        Desc Main
                         Document        Page 19 of 25




                                                                                                                                OR BK              8113                    PG             146
                                                                                                                                                         12            of' 13



                                     one-1welfth of the yearly premium installments for hazard insurance on the
                                     Property, and (ii) Borrower's obligation under Paragraph 4 of this Security
                                     lnsfrument to maintain hazard Insurance coverage on the Property rs deemed
                                     satisfied to the extent lhat the required coverage is provided by the Owners
                                   · Association policy. Borrower shall give Lender prompt notice of any lapse In
                                     required hazard insurance coverage and of any loss occurring from a hazard.
                                     In the event of a dis1rlbution of hazard Insurance proceeds In lieu of
                                     rastoratlon or repair following a loss to the Property or to common areas and
                                     facilities of the PUD, any proceeds payable to Borrower are hereby assigned
                                     and shall be paid 10 Lender for application to the sums secured by this
                                     Security Instrument, with any excess paid to the entity legally entitled thereto.

                             B.          Borrower promises to pay all dues and assessments Imposed pursuant to the
                                         legal Instruments creating and governing the PUD.

                             C.          If Borrower does not pay PUD dues and assessments when due, the Lender
                                         may pay them. Any amounts disbursed by Lender under this paragraph C
                                         shall become additional debt of Borrower secured by the Security Instrument.
                                         Unless Borrower and Lender agree to other lerms of payment, these
                                         amounts shall bear lnteres1 from the date of disbursemen1 at the Note rate and
                                         shall be payable, with Interest, upon notice from Lender to Borrower
                                         requesting payment.




                     iFHA PUD Rider                                                                                            VMP589U (0806).00
                     iv MP®
                     jwolters Kluwer Financial servlces e 2008
                                                                                                                                        Page1
                                                                                                                                   lnitials:-ry-
                                                                                                                                                 �
                                                                                                                                                           �t,




   ------- ----.-.·-�:   ,    .., __ .         __.,   ,.    ·         _,_,,   --···----- .. ···-··-····-�------······-····-·-·------·· .. -·-·····-····--···-.. ···-···-- .. ·---.• ·-----·-- .. ··----
Case 19-02547-dd                 Doc 18             Filed 06/26/19 Entered 06/26/19 19:02:17          Desc Main
                                                   Document      Page 20 of 25




                                                                             OR BK    8113          PG   147
                                                                                        13    of 13


                           BY SIGNING BELOW, Borrower accepts
                       contained in this PUD Rider.


                       =-��'::::./-_---/--.4-__;\-_(Seal)
                                                  -Borrowar




                       ____________ (Seal)                        ____________ (Seal)
                                  -Borrower                                  -Borrower




                       ____________ (Seal)                        ____________ (Seal)
                                  -Borrower                                  -Borrower




                       ____________ (Seal)                        ____________ (Seal)
                                  -Borrower                                  -Borrower




                   ,���������������������������������
                   ;
                   i

                   !
                 -. i FHA PUD Rider                                            VMP589U (0806).00
                    iVMP6
                     !I Wolters Kluwer Flnanclal Services® 2008
                                                                                       Pag�;..°l)
                                                                                     lnltials:lJ,i �
                                                                                                    d_t\O
                                                  •




   ___ _ ,.   ,.--"'i   , .. _   , .• _ _,,_...,   , _
      Case 19-02547-dd                       Doc 18       Filed 06/26/19 Entered 06/26/19 19:02:17                                       Desc Main
                                                         Document      Page 21 of 25

Recording Requested By:
WELLS FARGO BANK, N.A.

When Recorded Return To:                                                     Rcpl:1558452            Rec;
                                                                                                  10-00
                                                                             OS: 0.00      IT: 0.00·
DEFAULT ASSIGNMENT                                                           10/23/13 E. Munguia, Dply Clerk

iiiiiiii     13ANK, N.A.

t-'U tjUJI.. ·10Ll:t                                                         PAULA S . 0 'NEIL , Ph . D . PASCO CLERK & cor·i°PTROLLER
                                                                             10/23/13 02:5�m               1    of 1
                                                                                           �9�� - p� _27��
MINNEAPOLIS, MN 55440-9049
                                                                               OR Bl<




                                    CORPORATE ASSIGNMENT OF MORTGAGE
Pasco, Florida
 "PEREZ"

MERS#                         SIS#: 1-888-679-6377

Date of Assignment: October 16th, 2013
Assignor: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR NATIONSTAR
MORTGAGE, LIMITED LIABILITY COMPANY, ITS SUCCESSORS AND ASSIGNS at BOX 2026 FLINT Ml 48501,
1901 E VOORHEES ST STEC., DANVILLE, IL 61834
Assignee: WELLS FARGO BANK, NA at 1 HOME CAMPUS, DES MOINES, IA 50328
Executed By: MICHAEL J PEREZ, A MARRIED MAN JOINED BY HIS WIFE KELLY A. PEREZ To: MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR NATIONSTAR MORTGAGE, LIMITED
LIABILITY COMPANY, ITS SUCCESSORS AND ASSIGNS
Date of Mortoage: 06/15/2009 Recorded: 06/24/2009 in Book/Reel/Liber: 8113 Page/Folio: 135 as Instrument No.:
•••• In the County of Pasco, State of Florida.

Property Address: 21428 MORNING MIST WAY, LANDO LAKES, FL 34637



  KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, the said Assignor hereby assigns unto the above-named Assignee, the said
Mortgage having an original principal sum of $143,355.00 with interest, secured thereby, with all moneys now owing
or that may hereafter become due or owing in respect thereof, and the full benefit of all the powers and of all the
covenants and provisos therein contained, and the said Assignor hereby grants and conveys unto the said Assignee,
the Assignor's beneficial interest under the Mortgage.

   TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever, subject to the
terms contained in said Mortgage.

 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR NATIONSTAR MORTGAGE,
LIMITED LIABILITY COMPANY, ITS SUCCESSORS AND ASSIGNS
On   f (2 f J 1 / J :?;)

By@:::i�
Assistant Secretary    ·


STATE OF Minnesota
COUNTY OF Dakota                        i·

On   lO   l) )JI)      , before me,
State ofinne(a, personally appeared
                                         "- Michelle
                                            · c· ·    · Erin Wihren , a Notary Public in Dakota County in the
                                                 Yves Akara      Kenao              Assistant Secretary, personally
                                                                                    I


known to me (or proved to me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity, and that by his/her/their signature on the instrument the person(s), or the entity upon behalf of
which the person(s) acted, executed the instrument.

WITNESS my hand and official seal,
                                                                                           MICHEU..E"ERIN WIHREN
 ��                                                                                           NOTAA'1 PUBLIC-MINNESOTA
     ·. Michelle Erin Wil ,ren                                                            M'f COMMISSION EXPIRES 01/31,"l016
Notary Expires: I '31 l�l�
                                                                                              (This area for notarial seal)

PREPARED BY: WELLS FARGO BANK, N.A.
Case 19-02547-dd   Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17   Desc Main
                            Document      Page 22 of 25
Case 19-02547-dd   Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17   Desc Main
                            Document      Page 23 of 25
Case 19-02547-dd   Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17   Desc Main
                            Document      Page 24 of 25
Case 19-02547-dd   Doc 18    Filed 06/26/19 Entered 06/26/19 19:02:17   Desc Main
                            Document      Page 25 of 25
